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                      EXHIBIT 1
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                                                                     King & Spalding LLP
                                                                     633 West Fifth Street
                                                                     Suite 1600
                                                                     Los Angeles, CA 90071
                                                                     Tel: +1 213 443 4355
                                                                     Fax: +1 213 443 4310
                                                                     www.kslaw.com

                                                                     Joseph N. Akrotirianakis
                                                                     Partner
                                                                     Direct Dial: +1 213 443 4313
                                                                     Direct Fax: +1 213 443 4310
                                                                     jakro@kslaw.com




March 3, 2020


VIA EMAIL
Travis LeBlanc, Esq.
Cooley LLP
101 California Street 5th Floor
San Francisco, California 94111-5800

Re:    WhatsApp Inc. and Facebook, Inc. v. NSO Group Technologies Limited and Q Cyber
       Technologies Limited

Dear Mr. LeBlanc:

This letter is sent to you as the signatory of the application for entry of default in WhatsApp Inc.
and Facebook, Inc. v. NSO Group Technologies Limited and Q Cyber Technologies Limited,
Northern District of California Case No. 3:17-cv-07123-JSC.

“It is the duty of an attorney . . . to employ . . . those means only as are consistent with truth, and
never to seek to mislead the judge or any judicial officer by an artifice or false statement of fact or
law.” California Business & Professions Code 6068(d). “A lawyer shall not . . . knowingly make
a false statement of fact or law to a tribunal or fail to correct a false statement of material fact or
law previously made to the tribunal by the lawyer.” Cal. Rules of Prof. Conduct
3.3(a)(1). Misrepresentations to judges regarding service violate Business & Professions Code
6068(d). Matter of Chesnut (Rev. Dept. 2000) 4 Cal. State Bar Ct. Rptr. 166, 169-175, 177-178.

This morning, in response to an inquiry we made after you filed the application for default, we
received information from the General Counsel’s Office, Administration of Courts, Government
of Israel (see enclosed). That office informed us that, on February 25, 2020, the Government of
Israel provided Facebook with an Article 4 Notice under the Hague Convention (“If the Central
Authority considers that the request does not comply with the provisions of the present Convention
it shall promptly inform the applicant and specify its objections to the request.”). As is indicated
in the enclosed, the Government of Israel’s position is that: “The Hague application for service in
this case is incomplete.”
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Travis LeBlanc, Esq.
Cooley LLP
March 3, 2020
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Two days after the Government of Israel issued the Article 4 Notice, on February 27, 2020, you
signed a pleading in which you averred that Defendants had been “served under the Hague
Convention.” In your brief, you informed the Court: “The Central Authority in Israel has not yet
issued the formal certificate of Hague service” and “the delay in the issuance of the certificate in
this matter is unusual.” You omitted to mention that your clients, Facebook and WhatsApp, had
been notified, two days earlier, that no certificate of service would be forthcoming. You
nonetheless implied to the Court that Facebook believed that the Government of Israel would be
issuing a certificate of service.

Whether or not you were aware of the Government of Israel’s February 25, 2020, Article 4 Notice
at the time you filed the application for default (an issue we would like to discuss with you), you
have now been notified of that fact.

Your application for entry of default also misstates the applicable legal standard by representing
to the Court that it could properly enter default in the absence of an Article 6 certificate. No case
where the Plaintiff relied on service by a Central Authority under the Hague Convention so holds
(except for cases involving the invocation of Article 15). In the case you cited to the Court, SEC
v. Hilsenrath, 2005 WL 8156506, the Court did not enter default until 22 days after the Central
Authority issued the Article 6 certificate, thus the statement by the Court about the defendant’s
deadline for responding to the Complaint was purely dicta. Pursuant to the authorities we have
previously provided you, it is clear the issuance of the Article 6 certificate is a substantive
component of service without which default cannot properly be entered.

Yesterday, the Court entered default based on your factual and legal misrepresentations. Your
duty of candor under Business & Professions Code 6068(d) and Rule of Professional Conduct
3.3(a)(1) obligates you to correct the factual record and inform the Court that the Government of
Israel provided an Article 4 Notice on February 25, 2020, and, accordingly, service under the
Hague Convention has not yet been completed. Please inform us how and when you plan to do
so.

Please contact me if further information is required.

                                                        Very truly yours,




                                                        Joseph N. Akrotirianakis


JNA:wt

Enclosure
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Travis LeBlanc, Esq.
Cooley LLP
March 3, 2020
Page 3


cc:   A. Craig
      D. Grooms
      J. Mornin
      K. Wong
                   Case 4:19-cv-07123-PJH Document 29-2 Filed 03/09/20 Page 5 of 7




From:                 ‫< שירי פרלמוטר‬Shirip@court.gov.il>
Sent:                 Tuesday, March 3, 2020 2:14 AM
To:                   Akrotirianakis, Joe
Cc:                   ShmuelS@nsogroup.com; ‫ ;ימית עוקב; ברק לייזר‬royb@krblawfirm.com; Craig, Aaron
Subject:              RE: WhatsApp Inc. and Facebook, Inc. v. NSO Group Technologies Limited. and Q Cyber Technologies
                      Limited, Case No. 3:19-cv-07123-JSC


**External Sender**
Dear Mr. Akrotirianakis,

We write with regard to your inquiry regarding the status of service under the Hague Convention in the case of
WhatsApp Inc and Facebook, Inc. v. NSO Group Technologies Limited and Q Cyber Technologies Limited, Case No. 3:19-
cv-07123-JSC. The Hague application for service in this case is incomplete.

In response to an inquiry received via email from attorney Gil Orion from Fisher-Bachar law firm (who represents the
applicant) regarding the status of the Service Request; on February 25, 2020, the Office of the Court Administration
relayed a letter, in accordance with Article 4 of the Convention, requesting that the application be completed and
resubmitted so that we will be able to handle the service request in accordance with the regulations. We have not
received a response, to date.

Sincerely,

Shiri

Shiri perelmutter
Manger of the legal assistance to Foreign countries|General Counsel's Office|Administration of courts
shirip@court.gov.il ,Foreign.countries@court.gov.il



                                                                                                             :‫התחל הודעה מועברת‬

                                                                       <BARAKL@court.gov.il> ‫ ברק לייזר‬:‫מאת‬
                                                                   2+GMT 10:51:28 ‫ בשעה‬2020 ‫ במרץ‬2 :‫תאריך‬
                                                                 <royb@krblawfirm.com< > Roy Blecher :‫אל‬
                                                             <ShmuelS@nsogroup.com> Shmuel Sunray :‫עותק‬
             ⁨WhatsApp Inc. and Facebook, Inc. v. NSO Group Technologies Limited. and Q Cyber :‫ תשובה‬:‫נושא‬
                                                         Technologies Limited, Case No. 3:19-cv-07123-JSC⁩



                                                                                                               ,‫בוקר טוב‬

                                                   .‫ על כל פנים העניין יבדק ויטופל‬.‫למיטב ידעיתי לא הגיע כל פניה בעניין זה‬

                                                                                                                ,‫בברכה‬
                                                                                                         ‫עו״ד‬,‫ברק לייזר‬
                                                                                                         ‫היועץ המשפטי‬
                                                                                                      ‫הנהלת בתי המשפט‬

                                                            1
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                 :‫ה‬/‫< כתב‬royb@krblawfirm.com> Roy Blecher ,21:09 ‫ בשעה‬,2020 ‫ במרץ‬1-‫ב‬


                                                                         ,‫עו"ד לייזר שלום רב‬

                                            .‫אני פונה אליך בנושא שבנדון בשל דחיפותו הרבה‬

   ‫ לרבות בהיבטים הקשורים בתביעה שהגישה נגדה‬,‫ בעניינים שונים‬NSO ‫אני מייצג את חברת‬
                                .("‫חברת פייסבוק לבית המשפט בקליפורניה )"התביעה‬

 ‫ המשרד‬,("K&S") King & Spalding ‫ פנה עו"ד ג'ו אקרוטיריאנקיס ממשרד‬,28.2,20 ,‫ביום שישי‬
             ‫ להנהלת בתי המשפט בכתובות הדוא"ל‬,‫ בתביעה‬NSO ‫המייצג בארה"ב את חברת‬
 ‫ עדכנו את‬K&S .‫ רצ"ב עותק מפנייתו‬.foreign.countries@court.gov.il -‫ ו‬mishpatit@court.gov.il
  ,default ‫ פנו באי כוחה של פייסבוק לביהמ"ש בקליפורניה בבקשת‬27.2.20 ‫ כי ביום‬,‫הנהלת בתי המשפט‬
        .‫ הגם שטרם התקבל בידם אישור המעיד על ביצוע ההמצאה‬,NSO -‫בטענה שכתב התביעה הומצא ל‬

      .‫ לפי אמנת האג‬NSO -‫ בסטטוס המצאת כתב התביעה ל‬K&S ‫הנהלת בתי המשפט התבקשה לעדכן את‬

                                                          .‫ לא קיבלו כל מענה לפנייתם‬K&S ‫עד כה‬

                .‫אודה אם תוכל לבקש מהגורמים הרלוונטיים בהנהלת בתי המשפט ליתן מענה דחוף לפנייה‬

                                                                                      ,‫בברכה‬

                                                                                         ‫רועי‬




  Roy Blecher | Partner                                                 <image015.jpg>
  Krispin | Rubinstein | Blecher
  Law Offices
  B.S.R 4 Tower, 7 Masada Street, Bnei Brak 5126112, Israel

  Tel: +972 (7) 33202021 | Mobile: +972 (54) 5216678 | Fax: +972 (7) 33202031

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  Royb@krblawfirm.com | www.krblawfirm.com | www.israelenergylaw.com
  <image018.jpg>
  <image019.png>
  <image020.jpg>
  <image021.jpg>


From: Akrotirianakis, Joe
Sent: Friday, February 28, 2020 4:21 PM
To: 'mishpatit@court.gov.il' <mishpatit@court.gov.il>; 'foreign.countries@court.gov.il'
<foreign.countries@court.gov.il>
Cc: Aaron Craig (acraig@kslaw.com) <acraig@kslaw.com>
Subject: WhatsApp Inc. and Facebook, Inc. v. NSO Group Technologies Limited. and Q
Cyber Technologies Limited, Case No. 3:19-cv-07123-JSC
Importance: High

                                              2
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To Administration of Courts:

We are writing with an urgent inquiry regarding the case of WhatsApp Inc. and
Facebook, Inc. v. NSO Group Technologies Limited and Q Cyber Technologies Limited,
Case No. 3:19-cv-07123-JSC, pending before the United States District Court for the
Northern District of California.

We are United States counsel for the defendants, NSO Group Technologies Limited and
Q Cyber Technologies Limited.

Yesterday (27 February 2020) the plaintiffs filed with the court an application for entry
of default, claiming that service has been completed but admitting that no certificate of
service has been issued.

We urgently request that you please provide us with a report on the status of service
under the Hague Convention.

Would you please confirm receipt of this email and respond as quickly as
possible? Thank you very much. We are trying to ensure the federal court here in the
United States has in fact received correct information about the status of service, in this
case, pursuant to the Hague Convention.

Please contact me if additional information is required.

–––
Joseph N. Akrotirianakis
Partner

T: +1 213 443 4313 | E: jakro@kslaw.com | www.kslaw.com

BIO | vCARD

King & Spalding LLP
633 West Fifth Street
Suite 1600
Los Angeles, CA 90071




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